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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

  UNITED STATES OF AMERICA


  vs.                                                CASE NO. 8:06-CR-246-T-17-MAP


  JOHN JAIRO SATIZABEL
  JUAN SALAS-MERINA
  JAIME SALAZAR-VIVA
  HEYMER ANGULO-MOSQUERA
                       /


                 ORDER ADOPTING REPORT AND RECOMMENDATION


         This cause is before the Court on the report and recommendation R&R issued by
  Magistrate Judge Mark A. Pizzo, on March 1, 2007 (Docket No. 70). The magistrate judge
  recommends that the Court deny the defendants’ motion to dismiss (Docket No. 33) the
  indictment based on the contention that the government cannot prove the vessel at issue was
  stateless and, therefore, subject to the jurisdiction of the United States.


         Pursuant to Rule 6.02, Rules of the United States District Court for the Middle District
  of Florida, the parties had ten (10) days after service to file written objections to the proposed
  findings and recommendations, or be barred from attacking the factual findings on appeal.
  Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982) (en banc). Defendant Heymer Angulo-
  Mosquera filed objections to the recommendation (Docket No. 74).


                                    STANDARD OF REVIEW


         When a party makes a timely and specific objection to a finding of fact in the report
  and recommendation, the district court should make a de novo review of the record with
  respect to that factual issue. 28 U.S.C. § 636(b)(1); U.S. v. Raddatz, 447 U.S. 667 (1980);
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  CASE NO. 8:05-CR-336-T-17-MSS

  Jeffrey S. v. State Board of Education of State of Georgia, 896 f.2d 507 (11th Cir. 1990).
  However, when no timely and specific objections are filed, case law indicates that the court
  should review the findings using a clearly erroneous standard. Gropp v. United Airlines,
  Inc., 817 F.Supp. 1558, 1562 (M.D. Fla. 1993).


          The Court has reviewed the report and recommendation and made an independent
  review of the record. Upon due consideration, the Court concurs with the report and
  recommendation as follows. Accordingly, it is


          ORDERED that the report and recommendation, dated March 1, 2007, be adopted
  and incorporated by reference, Defendant Heymer Angulo-Mosquera’s objections be
  overuled; and the defendants’ motion to dismiss (Docket No. 33) be denied.


          DONE and ORDERED in Chambers, in Tampa, Florida, this 11th day of April,
  2007.




  Copies to:
  All parties and counsel of record
  Assigned Magistrate Judge




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